              Case 2:06-cr-00390-WBS Document 131 Filed 11/13/08 Page 1 of 2


 1   ANTHONY J. BRASS (CASBN. 173302)
     Attorney at Law
 2   3223 Webster Street
     San Francisco, California 94123
 3   Telephone: (415) 922-5462
     Facsimile: (415) 346-8987
 4   tony@brasslawoffice.com
 5
     Attorney for Defendant
 6   TERRY TONG
 7
                                  UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                     ) Case No.: CR-S-06-390EJG
10                                                 )
                    Plaintiff,                     ) STIPULATION AND ORDER
11                                                 ) TO CONTINUE SENTENCING
            vs.                                    )
12                                                 )
     ZHI HUI ZUE, et al.,                          )
13                                                 )
                    Defendant.                     )
14                                                 )
                                                   )
15

16

17          THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree to continue the

18   sentencing in the matter of Terry Tong from Friday November 14, 2008 to Wednesday
19
     November 19, 2008.
20

21
            This continuance is being requested because I was appointed in San Francisco Superior
22

23   Court on an emergency basis to represent two police officers charged with contempt in a no time

24   waiver case. The judge insists that the contempt hearing be held on Friday November 14, 2008.
25

26

27

28




                                            U.S. v. TERRY TONG
             Case 2:06-cr-00390-WBS Document 131 Filed 11/13/08 Page 2 of 2


 1          Wherefore, it is respectfully requested that the sentencing hearing be moved to November
 2
     19, 2008.
 3

 4

 5   Dated: November 12, 2008                                   /s/ Anthony Brass
                                                                Anthony Brass
 6                                                              Attorney for Terry Tong
 7

 8   Dated: November 12, 2008                                   /s/ Robert Twiss
                                                                Robert Twiss
 9                                                              Assistant United States Attorney
10

11                                              ORDER
12
     IT IS SO ORDERED.
13

14
     Dated: November 12, 2008                          /s/ Edward J. Garcia               ________
15
                                                       U. S. DISTRICT COURT JUDGE
16

17

18

19

20

21

22

23

24

25

26

27

28




                                           U.S. v. TERRY TONG
